Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 1 of 17

rlinTco

Friday, April 13, 2018

Contreras Construction Corp.
127 General Somervell Street NE
Albuquerque, NM 87123

Attention: Miguel Contreras

RE: Subcontract No. 17025-026
Jicarilla Apache Community Center

Miguel:

We are including within this e-mail one (1) electronic copy of your Flintco, LLC Subcontract Agreement for the above
referenced project. Use the following procedure for execution of the Subcontract:

Please have an Officer of your company with express authority from your board of directors to execute the Subcontract
on Page 11, indicate their title and have another individual to attest the signature. Check the appropriate box to
indicate whether your company is a Corporation, Partnership, Proprietorship or LLC and complete the
paragraph. Sign and return one (1) electronic copy in its entirety (in same format) of the Subcontract by e-mail
with an indication of your acceptance in the body of the e-mail to subcontracts @flintco.com within seven (7)

days from today’s date,

Additionally, please email their Insurance Certificate indicating complete coverage as required in Exhibit B of the
Subcontract to the Insurance Certificate Coordinator in our St. Louis office at crooney@flintco.com.

Upon receipt, we will execute and return by e-mail one (1) electronic copy of the Subcontract for your files.

No payments will be made until we receive your properly executed electronic copy of the Subcontract in its entirety and your
Insurance Certificate that indicates 100% compliance with the coverage required on this project.

NOTE: Performance and Payment Bond is NOT required.

Sincerely,
Flintco, LLC

Bill Hartwell
Subcontract Administrator
314.733.2263

EXHIBIT

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Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 2 of 17

SUBCONTRACT NO. 17025-026

SUBCONTRACT AGREEMENT

ARTICLE 1
AGREEMENT

This Agreement is entered into this 13th —_— day of April inthe year 2018 by and between
FLINTCO, LLC, 6020 indian School Road, N.E., Albuquerque, NM 87110-4124, referred to in this Agreement as the
Contractor, and the

SUBCONTRACTOR CONTRERAS CONSTRUCTION CORP.
127 GENERAL SOMERVELL STREET NE
ALBUQUERQUE, NM 87123

ATTENTION: MIGUEL CONTRERAS

referred to in this Agreement as the Subcontractor for services in connection with this

PROJECT NAME JICARILLAAPACHE COMMUNITY CENTER PROJECT NO. 17025
LOCATION 37 HAWKS DRIVE
DULCE, NM 87528
whose
OWNER is THE JICARILLA APACHE NATION
PO BOX 507
DULCE, NM 87528
and whose
ARCHITECT/ FBT ARCHITECTS
ENGINEER is 6501 AMERICAS PARKWAY NE, SUITE 300

ALBUQUERQUE, NM 87110

NOTICE TO THE PARTIES SHALL BE GIVEN AT THESE ADDRESSES

SUBCONTRACT NO. 17025-026

Rev. April 2016 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 3 of 17

Page 2 of 11

2. Safoty

2.1 The Subcontractor agrees that the prevention of accidents to workmen and property engaged upon or In the vicinity of the Subcontract Work is its
responsibility. The Subcontractor agrees to comply with all Federal, State, Municipal and local faws, ordinances, rules, regulations, codes, standards,

” orders, notices and requirements conceming safety as shall be applicable to the Subcontract Work, including, among others, the Federal Occupational

Safety and Health Act of 1970, as amended, and ail standards, rules, regulations and orders which have been or shall be adopted or Issued thereunder,
and with the safety standards established during the progress of the Subcontract Work by the Contractor.

2.2 When so ordered, the Subcontractor shall stop any part of the Subcontract Work which the Contractor deems unsafe until corrective measures
satisfactory to the Contractor have been taken. The Subcontractor agrees that it shall not have nor make any claim for damages arising from such
stoppages. Should the Subcontractor fall to take appropriate corrective measures in a timely manner, the Contractor may do so af the cost and expense
of the Subcontractor and may deduct the cost and expense thereof from any payments due or to become due to the Subcontractor. Failure on the part of
the Contractor to stop unsafe practices shall In no way relleve the Subcontractor of its responsibility therefore.

2.3 The Subcontractor will follow the provisions of all applicable statutes and ordinances which require persons or firms doing excavation to do so only
after giving notice to ulflity companies and obtaining information on the location of utilities (such as “one-cail” systems).

3. Subcontractor Representations

3.4 The Subcontractor acknowledges receipt of all policies/precedures listed in Exhibit C. Subject to appficable {aw the Subcontractor further
agrees to be bound by these policles/procedures as part of this Agreement. The Subcontractor represents and agrees that it has carefully examined and
understands this Agreement and the other Subcontract Documents, has Investigated the nature, locallty and site of the Subcontract Work and the
conditions and difficulties under which It is to be performed, and that it enters into this Agreement on the basis of its own examination, investigation and
evaluation of all such matters and not in reliance upon any opinions or representations of the Contractor, the Owner or any of thelr respective officers,

agents or employees.

3.2 The commencement of the Subcontract Work by the Subcontractor on the site of the Project shall constitute the legal and binding acceptance by
the Subcontractor of this Agreement. For purposes of this paragraph the mobilization ef equipment, delivery of materials or the performance of actual
labor on the Project site, whichever occurs first, shall constitute a “commencement” of Subcontract Work by the Subcontractor. The Contractor reserves
the right, however, to insist on a signed Agreement prior to the making of any payment to the Subcontractor.

4, Bonds

if required by the Contractor, a Performance Bond and a Separate Payment Bond satisfactory to the Contractor, in Its sole determination are required to
be fumished in the full amount of the Subcontract Amount. If Bonds are required they shall be furnished by a surely acceptable to the Contractor, In the
full amount of the Subcontract Amount, and on the forms atlached as Exhibit G. Subcontractor must also furnish any applicable statutory bonds if

required by the state in which the Project is located.

5 Subcontractor Duties

5.1 Subcontract Work. The Contractor retains the Subcontractor as an independent contractor, to provide al! labor, materials, equipment and services
necessary or Incidental to complete the part of the work which the Contractor has contracted with the Owner to provide on the Project as set forth in
Exhibit A to this Agreement, consistent with the Project Schedule and ‘in strict accordance with and reasonably Inferable from the Subcontract
Documents. The Subcontracter agrees to perform such part of the work (hereafter called "Subcontract Work") for the Project under the general direction
of the Contractor and subject to the final approval of the Contractor, ArchitectfEngineer or other specified representative of the Owner.

§.2 Subcontract Documents. The Subcontract Documents include this Agreement, Agreement between the Owner and the Contractor (Prime
Contract’), including all addenda, modifications, revisions, plans, drawings, specifications, details, together with all general, technical, supplementary and
special terms and conditions, any invitations for bids or information for bidders, if any, to the extent applicable, and ail other documents listed In or
referred to by the Prime Contract. The Contractor and the Subcontractor are mutually bound by the terms of this Subcontract. To the extent the terms of
the Prime Contract apply to the work of the Subcontractor, then the Contractor assumes toward the Subcontractor all the obligations, rights, dutles and
redress that the Owner under the Prime Contract assumes toward the Contractor. tn the identical way, the Subcontractor assumes toward the Contractor
all the same obligations, rights, dutles and redress that the Contractor assumes toward the Owner and Architect/Engineer under the Prime Contract.

This Agreement and the rest of the Subcontract Documents are Intended to supplement and complement each other and shall, where possible, be so
interpreted. However, if any provision of this Agreement Irreconcilably confilcts with a provision of the Subcontract Documents, the provisten granting
greater rights or remedies to the Contractor or imposing the greater duly, standard or responsibility or obligation on the Subcontractor shail govern.

5.3 Design Delegation. If the Subcontract Documents (1) specifically require the Subcontractor to provide design services and (2) specify all design
and performance criteria, the Subcontractor shail provide the design services necessary to satisfactorily complete the Subcontract Work. Design
services provided by the Subcontractor shall be procured from licensed, design professionals (the "Designer’) retained by the Subcontractor as permitted
by the law of the place where the Project is located. The Designer's signature and seal shall appear on all drawings, calculations, specifications,
certificatians, Shop Drawings and other submittals prepared by the Designer. Shop Drawings and other submittals related to the Subcontract Work
designed or certified by the Designer, if prepared by others, shall bear the Subcontractor's and the Designer's written approvals when submitted to the
Contractor. The Contractor shall be entitled to rely upon the adequacy, accuracy and completeness of tha services, certifications or approvals performed

by the Designer.
§.3.1 {f the Designer Is an independent professional, the design services shail be procured pursuant to a separate agreement between the

SUBCONTRACT NO. 17025-026

Rev. April 2016 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 4 of 17

Page 3 of i1

Subcontractor and the Designer. The Subcontractor-Designer agreement shal! not provide for any imitation of liability or exclusion from
participation in the multiparty proceedings requirement of Paragraph 21.6. If applicable, the Designer(s) ts (are)

 

 

 

The Subcontractor shall notify the Contractor in writing if it Intends to change the Designer. The Subcontractor warrants the design fumished
by the Designer will be In conformance wilh the information given and the design concept expressed in the Subcontract Documents, The
Subcontractor shall not be responsible for the adequacy of the performance or design criteria required by the Subcontract Documents fumished

by the Owner, Architect/Engineer or Contractor

§.3.2 The Subcontractor shall not be required to provide design services in violation of any applicable law.

6.4 Clean Up. The Subcontractor is responsible for its own “clean-up” and keeping the Subcontract Work areas “broom clean”. If the Contractor
determines the Subcontract Work area to be unsatisfactorily cleaned, the Contractor will so advise the Subcontractor. If the Subcontractor fails to
commence cleaning procedures within twenty four (24) hours and continue to clean sald area to the Contractor's satisfaction, the Contractor may without
further notice execute and complete such clean up activities as the Contractor deems necessary and charge the cost to the Subcontractor or deduct such
cost from payments due to the Subcontractor. The Subcontractor Is responsible to clean the mud and gravel off its vehicles (Including vehicles operated
by lis subcontractors and suppliers) prior to leaving the site. Any mud or grave! that Is tracked onto the surrounding roads shall be removed immediately.
The Contractor has the right to clean up surrounding roads immediately upon the Subcontractor's failure to do so, the cost of which shall be deducted

from the Subcontractor's next payment.

§.5 Protection of Subcontract Work. The Subcontractor is responsible for protection of its material, equipment and installation until the final
acceptance by the Owner and the Architect.

5.6 Protection of the Project, The Subcontractor shall confine operations at the Project site to areas permitted by the Contractor and shall not
unreasonably encumber the Project site with materials or equipment. The Subcontractor Is responsible for any damage caused te adjacent property or
access roads by the Subcontractor, its subcontractors or suppliers during the course of the Subcontract Work.

8.7 Supervision. Ail of the Subcontract Work is the sole and absolute responsibility of the Subcontractor, shall be inillated, managed, performed and
completed by qualified, competent, skilled and reputable supervisors, administrators, mechanics and laborers, all of which are satisfactory to the
Contractor; shall be in full compilance with the Subcontract Documents including this Subcontract; and shall meet the approval and acceptance of the

Contractor and the Owner or its authorized representative.

6. Schedule

Time is of the essence. The Subcontractor shall commence the Subcontract Work under this Subcontract when notified by the Contractor and shal!
complete the Subcontract Work In a difigent manner in accordance with the Subcontract Documents and the Schedule of Work as set forth in Exhibit E
so that progress or completion of the Project will not be delayed and In such a manner that the Contractor, any other subcontractors, and any separate
contractors of the Owner shail not be delayed or impeded in their work. The Subcontractor shall participate and cooperate In the development of
schedules and other efforts to achieve timely completion of the Subcontracl Work by providing information on the timing and sequence of operations so
as to meet the Contractor's overall schedule requirements. The Subcontractor shall continuously monitor the Project Schedule including any revisions
thereto, and other work on the Project so as to execute the Subcontract Work in accordance with the requirements of the Project Schedule. The
Subcontractor agrees to be responsible for, carry out, and perform all time guarantees upon work or materials referred to in the Subcontract Documents
relating to any labor performed or material furnished under this Subcontract.

7. Payment

7.1 In consideration of faithful and timely performance by the Subcontractor of all the covenants and the conditlons aforesald, the Contractor agrees to
pay the Subcontractor, subject fo other provisions hereof, including authorized additions and deletions, the sum of

Four Hundred Fifty Thousand Dollars ($460,000.00)

(the “Subcontract Amount”) which sum is Tax Exempt in accordance with attached Exhibit H. Payment shell only be due for the portion of the
Subcontract Work actually completed to the satisfaction of the Contractor, the Architect and the Owner. Within ten (10) days after recetpt by the
Contractor of payment from the Owner, the Contractor shall make payment in the amount and to the extent received fram the Owner, less any applicable
retainage or other set off. However, receip! of payment by the Contractor from the Owner for the Subcontract Work is a condition precedent to the
obtigation by the Contractor to pay the Subcontractor for the Subcontract Work In accordance with the preceding sentence, and payment for the
Subcontract Work will be made to Subcontractor by the Contractor if and only to the extent such payment is received by the Contractor from the Owner.
The Subcontractor hereby acknowledges that It relies on ils own evaluation of the credit worthiness of the Owner, and not the credit worthiness of the
Contractor, with respect to payment for the Subcontract Work, and expressly assumes the risk of non-payment by the Owner thereof, for any reason
including, without fimitation, insolvency of tha Owner. Notwithstanding Subparagraph §.2 of this Agreement, the pravisions of this Section shall prevail
over any conflicting provisions In the Prime Contract. Progress payment applications must be submitted by the Subcontractor each month In an amount
equal to Ninety-Five percent (96%) of the estimated value of the labor, materials and equipment Incorporated in the construction and materials and
equipment suitably stored al the Project site, less the aggregate of previous payments. The Subcontractor’s Affidavit and Waiver of Lien for prior
payments must be properly executed by an authorized representative of the Subcontractor and returned to the Contracior prior to Issuance of subsequent

SUBCONTRACT NO, 17025-026

Rev. April 2046 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 5 of 17

Page 4 of 11

payments.

7.2 Within fifteen (15) days from the date payment Is requested, the Subcontractor shall furnish the Contractor with a tabulated breakdown of the portion
of the Subcontract Work included in the payment request, listing items of the work in sufficient detail as determined by the Contractor to easily fecliitate
payment requests to be checked by the Contractor as the work progresses,

7.3 Each payment request or invoice must be received by the Contractor by the 20th day of the month to be processed with the Contractor's payment
application that month. Invoices end payment requests received thal are Inaccurate or without substantiation, or after sald day of the month will be held
until corrected and substantiated, and then processed with the following month's payment application.

7.4 The Subcontractor shail submit its request for partial payment conforming to the standard Contractor billing form, with schedule of values attached
thereto, representing a true and accurate estimate of the Subcontract Work completed, and materials stored during the immediately preceding month or
such other Immediately preceding period as directed by the Contractor. In addilion, if allowed by the Subcontract Documents, all invoices and insurance
certificates shall be included for all stored materials In an off-site storage area applicable to the payment request.

7.6 The Subcontractor shall, additionally with each payment request, submit copies of payrotls to document the vatue of work in place and a Partial
Release of Lien from all tower tier subcontractors and major material suppilers for which payment has previously been made to the Subcontractor by the

Contractor.

7.6 {f the Contractor, in its sole discretion, deems It necessary, the Subcontractor agrees to receive each of its progress payments and final payment In
the form of multiple checks Issued jointly between the Subcontractors lower tler subcontractors and major material suppliers and the Subcontractor.
Lower tier subcontractors that are to receive part or all of thelr progress payments as joint checks shall additionally submit with their Payment Requests
all invoices from each lower tler subcontractor and major supplier and the net payments to be issued to each.

7.7 No partial payment, or certificate therefore, shall constitute acceptance or approval by the Contractor of the Subcontract Work or materia! for which
the partial payment Is made. No partial payment shall constitute a waiver by the Contractor of any right to require fulfilment of all the terms of this
Subcontract. Neither the final payment nor any partial payment, nor any certificate for either, shall constitute acceptance by the Contractor of defective
work or Improper materials or of any element of the Subcontractor's performance determined to be at variance with this Subcontract

7.8 The Contractor shal! have the right to set off any amounts the Subcontractor owes to the Contractor under thls Subcontract or by law against the
remaining balance under this Subcontract, or against any amounts due the Subcontractor under any other agreements with the Contractor.

7.9 Final Payment. Final payment by the Contractor to the Subcontractor shall not become due and payable to the Subcontractor until the following
express conditions precedent have been met: (1) The completion of the Subcontract Work required by this Subcontract and acceptance of the
Subcontract Work by the Contractor, the Owner and the Architect; (2) execution and delivery by the Subcontractor, In 8 form satisfactory to the
Contractor, of a general release running to and In favor of the Contractor and the Owner; and (3) complete and full satisfaction of all claims, demands,
disputes and obligations of the Subcontractor arising out of or related to this Subcontract, Including those between the Contractor and the Subcontractor
and between the Subcontractor and any third party. Should there be any such claim, fien or unsatisfied obligation, whether before or after final payment is
made, the Subcontractor shall deliver payment to the Contractor an amount equal to whatever cost the Contractor and/or the Owner must pay to
discharge or defend against any such clalm, obligation, lien or action brought, or any judgment thereon and all costs, Including legal fees and expenses
and a 15% Administrative Fee, incurred tn connection therewith.

8. Hazardous Materials

The Subcontractor shail at all times comply with all rules and regulations of any municipality, state or federal environmental protection, and toxlc waste
and hazardous substances laws, ordinances and regulations, and how they relate to the Subcontract Work, and shall be equally responsible for actions
and inactions of subcontractors, sub subcontractors, and any other agents or Independent contractors of the Subcontractor. The Subcontractor shall be
deemed to, and shall, have included in the Subcontracl Amount the containment, removal, disposal or neutralization of all toxic wastes and hazardous
substances created, generated or transported to or from the Project site in conjunction with the Subcontract Work. The Subcontractor will be responsible
for identifying toxic wastes and hazardous substances generated, released, caused by or resulting from the Subcontract Work and notifying the
Contracter of its presence in writing as scon as It is identified. The terms “toxic wastes” and “hazardous substances” shall have the same meaning as
defined under federal environmental! laws and regulations. At all times the Subcontractor shail defend, Indemnify and hold harmiess the Contractor from
any and all expenses, cos(s, damages, sulis, fines, assessments, penalties and/or causes of action, Including attomey’s fees through all investigations,
negotiations, hearings or appeals, relating to or arising out of the Subcontractor's fallure to strictly comply with the terms of this paragraph,

9, Compliance with Laws

9.1 The Subcontractor agrees to be bound by, and at Its own costs comply with, all federal, state and focal laws, ordinances and regulations (the
“Laws’) applicable to the Subcontract Work, including but not limited to safety, equal employment opportunity, minority business entesprise, women's
business enterprise, disadvantaged business enterprise, sexual and recial harassment, and all other Laws with which the Contractor must comply.

9,2 Where prescribed by Law pursuant to direct Federal contracts or Federally-financed or aided contracts, or otherwise required by Law, the
Subcontractor agrees the following clauses found in the Subcontract Documents or in the Code of Federal Regulations (CFR) are incorporated In this
Subcontract and binding on Subcontractor as if written herein word for word: the clauses entitled “Equal Opportunity Clause” (41 CFR Sections 60-1.4 &
60-4.3); “Affirmative Action Obligations of Contractors and Subcontractors for Disabled Veterans of the Vietnam Era” (41 CFR Section 60-250.4);
“Affirmative Action Obfigations of Contractors and Subcontractors for Handicapped Workers” (41 CFR Section 60-741.1); “Contract Work Hours and
Safety Standards Act-Overtime Compensation’: “Apprentices and Trainees”; "Payrolls and Basic Records"; “Compliance with Copeland Act
Requirements”; “Withholding”; “Subcontracts*; “Contract Termination-Department”, “Disputes Concerning Labor Standards”; “Compliance with
Davis-Bacon and Related Act Requirements”; and “Certification of Eligibility” and such other clauses as the Federal Government has required by law or
contract. Subcontractor agrees lo Include all such clauses in any non-exempt, lower-tler subcontracts.

SUBCONTRACT NO. 17025-026

Rev. Aprit 2016 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 6 of 17

Page 5 of 11

9.3 Immigration Compliance. The Subcontractor represents and warrants to the Contractor thal the Subcontractor Is in compliance with, and shall
remain in compliance with, the provisions of the {mmigration Reform and Control Act of 1986 (The “Act") and all other Federal, State, and/or local
Immigration statutes/ordinances, as applicable, including, but not limited to the provisions of the Act prohibiting hiring and continued employment of
unaulhorized aliens, requiring verification and record keeping with respect to identity and eligibility for employment and prohibiting discrimination on the
basis of natlonal origin, United States citizenship, or intending citizen status. The Subcontractor agrees to indemnify the Contractor and to hold the
Contractor harmless from all tlability, including lability for interest and penalties, the Contractor incurs which results from or Is attributable to the
Subcontractor’ failure to comply with any provisions of the Act, and or applicable Federal, State, and/or local immigration statute/ordinance, including
reimbursing the Contractor any monles expended by the Contractor in participating in or responding to any Investigation/sult/civil or criminal immigration
matter involving the Subcontractor. As it relates to immigration compllance, the Subcontractor shall be responsible for compteting any and all required
documentation in accordance with requirements put forth by the Owner, Contractor or applicable law.

9.4 The Subcontractor shall be {lable to the Contractor and the Owner for all loss, cost and expense altributable to any acts of commission or omission
by the Subcontractor, its Sub-Subcontractors al any tier, and Its and thelr respective employees and agents resulting from the failure to comply with
Laws, including, but not limited to, any fines, penalties, restitution, judgments, and other damages resulting from such acts of commission or omission.

10. Insurance

40.4 The Subcontractor agrees fo procure, pay for and maintain in full force and effect during the course of the performance of the Subcontract all
insurance required by the laws of the state in which the Subcontract Work covered by this Subcontract Is being performed, and In such form and
amounts as described in Exhibit B which Is attached hereto and incorporated Into this Subcontract. The Subcontractor shail not commence the
Subcontract Work nor recelve any payment hereunder until Certificate of such Insurance Is fumished to the Contractor.

40.2 The Contractor shall have no duty to the Subcontractor or to any of its insurers or thelr insurance agents to review any cerlificates or copies of
insurance furnished to the Contractor or to determine whether the terms of each certificate or policy of Insurance comply with the insurance-refated
provisions of the Subcontract. A failure of the Contractor to detect that the Subcontractor has not submitted certificates, or proper certificates, or is
otherwise not in compliance with the insurance-related provisions of the Subcontract shall not be construed as a waiver or other Impairment of any of the

Contractor's rights under such insurance-related provisions.

10.3 If the Subcontractor fails to procure and maintain such Insurance, In addition to the option of declaring the Subcontractor In default for breach of a
material provision of this Subcontract, the Contractor shall have the right, but not the duty, to procure and maintain the same insurance, or other
insurance that provides the Contractor with equivalent protection, and the Subcontractor shall fumish all necessary information to make effective and
maintain such Insurance. At the option of the Contractor, the cost of sald insurance purchased by the Contractor shail be charged against and deducted
from any monies then due er to become due to the Subcontractor or the Contractor shall notify the Subcontractor of the cost thereof and the

Subcontractor shall promptly pay such cost.

10.4 The Subcontractor shall identify by certificate any Residential, Mold, EIFS, Silica or ofher major exciustons that impact the Subcontractor's
ability to insure its risk, If the Project Includes any Residential components or the proposed design includes EIFS systems, then the Subcontractor shall

obtain appropriate endorsements acceptable to the Contractor as a condition of this Subcontract.

10.5 The Subcontractor shall at its own expense provide insurance coverage for materials stored off the site after wrilten approval of the Contractor
at the value established in the approval, and also for portions of the Subcontract Work in transit until such materials are permanently Incorporated Into
the Project. The risk of oss for material and equipment provided by this Subcontract, whether In a deliverable slate or otherwise, shall remain with the
Subcontractor. Any damages to the material and equipment or loss of any kind occasioned in transit shall be borne by the Subcontractor,
notwithstanding the manner In which the goods are shipped or who pays the freight or other transportalion costs.

41, Indemnity

41.1 General Indemnity. To the fullest extent allowed by law, the Subcontractor agrees to defend, indemnify and hold harmless the Contractor to the
same extent Contractor is obfigated to defend, indemnify and held harmless the Owner. In the absence of such Owner-required defense and
Indemnification, the Subcontractor shall defend, Indemnify and hold harmless the Contractor, the Contractor's other subcontractors, the
Architect/Engineer, the Owner and their agents, consultants, members and employees (the indemnitees) from and against all claims, damages, losses
and expenses, including, but not limited to, attorneys’ fees, costs and expenses for bodily Injury and property damage that may arise from the
performance of the Subcontract Work fo the extent of the negligent acts or omissions by, or the fault of, the Subcontractor, the Subcontractor's
sub-subcontractors or anyone employed directly or indirectly by any of them or by anyone for whose acis or omissions any of them may be liable. The
Subcontractor agrees to purchase and maintain contractual liability Insurance covering Its obligations In this article. These obligations shall not be
Interpreted to reduce or negate any other rights or obligations of Indemnity otherwise existing with regard as to any party or person described tn this

Article.
91.2 Patents. The Subcontractor hereby agrees to defend, indemnify and hold harmless the Contractor and the Owner from and against any and

all lability, toss or damage and to reimburse the Contractor and the Owner for any costs, Including legal fees and expenses, which the Contractor and the
Owner may incur because of claims or litigation on account of infringement or alleged infringement of any letters patent or patent rights by reason of the

Subcontract Work, or materials, equipment or other items used by the Subcontractor in Its performance.

11.3 No Limitations. tn furtherance to, but not in limitation of the indemnity provisions tn this Subcontract, the Subcontractor hereby expressly and
specifically agrees thal its obligation to Indemnify, defend and hold harmless as provided In this Subcontract shall notin any way be affected or
diminished by any statutory or constitutional immunity It enjoys from sults by its own employees or from limitations of llability or recovery under worker's

compensation laws.
12. Termination for Convenience
412.4 It is understood thal the basic assumption underlying the mutual obligations and responsibilities entered into by the parties to this Subcontract is the

SUBCONTRACT NO. 17025-026

Rev. April 2016 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 7 of 17

Page 6 of 11

continued performance with respect to the Prime Contraci that exists between the Contractor and the Owner. if, for any reason, the Prime Contract Is
breached, rescinded or terminated, the Contractor shall have the right to immediately terminate this Subcontract. In no event shall the Contractor be
obligated to the Subcontractor for any anticipatory profits or any damages incurred by the Subcontractor as a resull of the termination of thls Subcontract,
unless approved and paid by the Owner. The Subcontractor agrees that the Contractor’s decision or determination regarding the pro rata share of any
monies received from the Owner as damages or compensation for sald breach, rescission or termination of the Agreement shall be final and conciusive
and that the Subcontractor shall have no claim or cause of action against the Contracter for any reason or greater amount.

12.2 The Contractor shall have the right at any time by written notice to the Subcontractor, to terminate this Subcontract without cause and require the
Subcontractor to cease work. In the event of such a termination fer convenience, the Subcontractor shail be entitled to payment pursuant to the terms of
the Subcontract for the portion of the Subcontract Wark actually completed as of the date of termination, together with reasonable costs of demobilization
and such other reasonable costs as may be encountered by the Subcontractor and directly attributable to such termination provided that such amount
may be reduced by all amounts for which the Subcontractor is llable or responsible. However, ihe Subcontractor shall only be entitled to profit on that
portion of the work actually completed and approved for payment to ihe date of termination together with retainages withheld from prior payments. The
Subcontractor waives any claim for loss of anticlpated profils or other damages In the event the Contractor exercises this clause.

13. Failure of Performance

13.1. Non-Conforming Subcontract Work. The Subcontractor shall provide sufficient, safe and proper faciiitles at all ttmes for Inspection by the
Architect, the Owner or the Contractor of the Subcontract Work in the field, at shops or at any other place where materials required hereunder are [n
course of preparation, manufacture, treatment or storage. The Subcontractor shall, within twenty four (24) hours after receiving writlen notice from the
Contractor {to that effect, proceed to remove from the site any materials condemned by the Architect, the Owner, or the Contractor, whether worked or
unworked, and to take down all portions of the Subcontract Work which the Architect, the Owner or the Contractor has condemned in writing, as unsound
or Improper, or as In any way falling to conform to the drawings, specifications and addenda and shall take full financial responsibility for all damage
caused by such removal. In the event that all or any pertion of the Subcontract Work as condemned should be of such a nature, or the time available
should be so limited, that in the judgment of the Architect, the Owner or the Contractor it would not be expedient to order the same replaced or corrected,
the Contractor, at Its option, may deduct from the payments due or to become due to the Subcontractor such amount or amounts as in the opinion of the
Architect or the Owner shall represent the difference between the fair and reasonable value of the Subcontract Work so condemned and its value had It

been executed in conformity with the Subcontract Documents.

13.2 Notice to Cure If the Subcontractor Is unable, refuses cr fails to supply enough properly-skilied workers, proper materials, correct
non-conforming Subcontract Work, or maintain the Schedule of Work, or fails to make prompt payment to Its workers, subcontractors or suppliers, or
disregards laws, ordinances, rules, regulations or orders of any public authority having jurisdiction, or otherwise is guilty of a material breach of a
provision of this Agreement, the Subcontractor shall be deemed In defauit of this Agreement. If the Subcontractor fails within three (3) business days
after written notification to commence and continue satisfactory correction of the default with diligence and promptness, then the Contractor without

prejudice to any other rights or remedies, shail have the right to any or afl of the following remedies:

13.2.1 to supply workers, materials, equipment and facilities as the Contractor deems necessary for the completion of the Subcontract Work
or any part which the Subcontractor has falled to complete or perform after written notification, and charge the cost, including reasonable
overhead, profit, attorneys’ fees, costs and expenses to the Subcontraclor;

43.2.2 to contract with one or more additional contractors to perform such part of the Subcontract Work as the Contractor determines will
provide the most expeditious completion of the Subcontract Work, and charge the cost to the Subcontractor, and/or

13.2.3 withhold any payments due or fo become due the Subcontractor pending corrective action In amounts sufficient to cover losses and
compel performance to the extent required by and to the satisfaction of the Contractor.

13.2.4 terminate the Subcontractor for default by defivering written notice of such termination to the Subcontractor.

13.2.6 to charge to the Subcontractor an Administrative Fee of 15% of all costs Incurred by the Contractor In exercising any of the above
remedies.

In the event of an emergency affecting the safety of persons or property, the Contractor may proceed as above without notice, but the Contractor shall
give the Subcontractor notice promptly after the fact as a precondition of cost recovery.

13.3 Termination for Default. if the Subcontractor has been terminated for default, the Contractor may take possession of the plant and
Subcontract Work, materials, tools, appliances and equipment of the Subcontractor at the Project site, and through Itself or others provide labor,
equipment and materials to prosecute Subcontract Work on such terms and conditions as shail be deemed by the Contractor as necessary, and shall
deduct the cost, including without restriction all claims, cherges, expenses, losses, costs, damages, and attomeys’ fees, Incurred as a result of the
Subcontracter’s faiture to perform, from any money then due or thereafter to become due to the Subcontractor under this Agreement.

43.3.1 if the Contractor so terminates the employment of the Subcontractor, the Subcontractor shall not be entitted to any further payments
under this Agreement and no sum shall be deemed due or to become due to the Subcontractor until Subcontract Work has been completed
and accepted by the Owner, afl Subcontract requirements have been fulfilled, and payment has been received by the Contractor from the
Owner. In the event the unpaid subcontract eamings exceed the Contractor's cost of completion and any and all Incidental costs, including
administrative, legal and other professtonal fees, the difference shall be paid to the Subcontractor, but if such expenses exceed the subcontract

earnings, the Subcontractor agrees to pay the difference to the Contractor promptly.

43.3.2 Ifitis determined or agreed that the Contractor wrongfully exercised any option under this Ariicle, the Contractor shall be llable to the
Subcontractor solely for the reasonable value of Subcontract Work performed by the Subcontractor prior to such action, Including reasonable

SUBCONTRACT NO. 17025-026

Rev. April 2016 CONTRERAS CONSTRUCTION CORP,
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 8 of 17

Page 7 of 11

overhead and profit on the Subcontract Work performed, less prior payments made. Under no circumstances shall the Subcontractor be
entitled to recovery of claimed lost future profits.

14. Delays

44.4 Should the progress of the Subcontract Work be delayed, obstructed or interfered with through any fauil, action or falture to act by the Subcontractor
or any of its officers, agents, employees, subcontractors or suppliers so as lo cause any additional cost, expense, llability or damage to the Contractor or
the Owner, including tegal fees or expenses incurred in defending claims arising from such delay or seeking reimbursement and indemnity from the
Subcontractor and Its surety hereunder, the Subcontractor and Its surety agree lo compensate and indemnify the Contractor and the Owner against all

such costs, expenses, damages and flabilities.

14.2 {n addition, the Subcontractor, at the Contractor's direction and at the Subcontractor’s own cost and expense, shall work such overtime as may
be necessary to make up for all time lost in the completion of the Subcontract Work and In the comptetion of the Project due to such delay. If the
Subcontractor falls to make up for the time lost by reason of such delay, the Contractor has the right to use other subcontractors or suppliers and to take
whatever other action the Contractor deems necessary to avoid delay in the completion of the Subcontract Work and the Project, the cost of which shall
be borne by the Subcontractor. In the event Subcontractor delays timely performance of the Subcontract Work or to the completion of the Project, either
by Its acts or omissions, and such delays result in the Contractor being charged by the Owner with actual or liquidated damages, then the Subcontractor
shall relmburse the Contractor the full amount of all such damages and charges resulting from the delays caused by the Subcontractor. The Contractor
may offset any such damages against the remaining balance due to the Subcontractor on the Subcontract Amount, if any.

14.3 If the commencement and/or progress of the Subcontract Work Is delayed without the fault or responsibility of the Subcontractor, the time for
the Subcontract Work shall be extended by Subcontract Change Order to the extent obtained by the Contractor from the Cwner pursuant to the Prime

Contract, and the Schedule of Work shall be revised accordingly.

16. Changes

48.1 Subcontract Changes. The Contractor and the Subcontractor agree the Contractor may make changes to the Subcontract Work, Including but not
limited to; additions, deletions or revisions. Any changes made to the Subcontract Work involved, or any other parts of this Agreement, shall be by a
written Change Order. To the extent that any such change impacts Subcontractor’s cost of or time for performance, the Subcontract Amount and
Subcontract Schedule shall be equitably adjusted to compensate for such impact. Changes shall be initlated by one of the three methods outlined below,
or as provided in the Prime Contract and shall be incorporated into the Subcontract by a Change Order.

16.1.1. Request for Change Proposal. A Request for Change Proposal (RFCP) is a written request that Informs Subcontractor about a
potential change in the Subcontract Work and requests a proposal for the potential change. Subcontractor shall promptly reply with such
request. Subcontractor shal! not Implement the change or incur any costs untlt a Change Order Is fully executed.

16.1.2, Construction Change Directive. A Construction Change Directive (CCD) is a written directive that Instructs Subcontractor to take
some tmmediate action in connection with the Subcontract Work. CCDs are Issued when there is not time to Issue a RFCP or Change Order.
Subcontractor shall immediately proceed so as not to delay the progress of the Work and in accordance with the terms of the CCD, Any (mpact

of a CCD on the Contract Price or Schedule shall be adjusted by a Change Order.

16.1.3, Change Order Requests. Within seven (7) calendar days after the occurrence of any event or observance of any condition that
Subcontractor belleves entitles Subcontractor to an adjustment in Subcontract Amount and/or Subcontract Schedule, Subcontractor shall
prepare and submit a Change Order Request (COR) to Contractor. The COR shall include a detailed factual narralive, a detailed analysis
showing entitlement and a detailed analysis of the proposed change to the Subcontract Amount and/or Subcontract Schedule.

45.2 Change Orders. A Change Order (CO) Is a wrilten instrument prepared by the Contracter and signed by the Subcontractor stating their agreement
with the change in the Subcontract Work and any adjustment to the Subcontract Amount and/or Subcontract Schedute. All changes and/or additions In
the Subcontract Work ordered in writing by the Contractor shail be deemed a part of the Subcontract Work and shall be performed and fumished tn strict
accordance with all terms and conditions of this Agreement and the Subcontract Documents, including the current Schedule of Work.

Change Orders will be used to implement approved Requests for Change Proposals, Construction Change Directives and Change Order Requests. Upon
receipt of a properly documented COR or CCD, the parties shall negotiate In good faith to determine If the Subcontractor Is entitled to a Change Order
and, if so, the appropriate equitable adjustment. Any adjustment to the Subcontract Amount shall be established by one of the following methods:

a. mutual acceptance of an itemized [ump sum, or

b. unit prices as Indicated in the Subcontract Documents ar as subsequently agreed to by the parties; or
¢. costs determined in a manner acceptable to the parties and a mutually acceptable fixed or percentage fee; or

d, another method provided in the Subcontract Documents.

if the Parties are unable to agree on the dispositions of a COR or CCD, Contractor will elther (I} Issue a Notice denying Subcontractor’s request or (Il)
issue a unilateral Change Order setting forth the Contractor's final determination regarding the adjustments. Any cos! and schedule adjustments shall be
a full accord and satisfaction for all cumulative Impacts of the underlying change.

18.3 The Subcontractor shall not be entitled te recelve additional compensation for extra work or materials or changes of any kind except fo the extent
the same was ordered by the Contractor or any of its representatives. The Subcontractor shall be responsible for any costs incurred by the Contractor
for changes of any kind made by the Subcontractor thal increase the cost of the Work for either the Contractor or other subcontractors when the
Subcontractor proceeds with such changes without a Change Order or Construction Change Directive.

SUBCONTRACT NO. 17025-026

Rev. April 2016 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 9 of 17

Page 8 of 11

16.4 Determination by Owner or Architect#Engineer. Notwithstanding any other provision, if the Subcontract Work for which the Subcontractor claims
additional compensation is determined by the Owner or Architecl/Engineer not to entitle the Contractor to a Change Order, additional compensation or a
time extension, the Contractor shail not be {lable to the Subcontractor for any additional compensation or time extension for such Subcontract Work,
uniess the Contractor agrees in writing to pay such additional compensation or to grant such extension.

16. Claims

16.1 A Claim is a written demand by Subcontractor seeking an adjustment In the Subcontract Amount and/or Subcontract Schedule or some other reilef
under the terms of the Subcontract for events other than a RFCP that has been denled in writing. Subcontractor shall provide Notice to Contractor of any
potential Claim within seven (7) calendar days after the event giving rise fo the Claim. Within fifteen (15) calendar days thereafter, Subcontractor shall
submit a detatled factual narrative, a detalled analysis showing entitlement and a detailed analysis of the alleged change to the Subcontract Amount
and/or Subcontract Schedule. Claims not timely made, In writing, by the Subcontractor shall be deemed to have been abandoned and waived. The
acceptance and consideration of any clalm out of time by the Contractor shall not create any precedent nor “course of dealing’ between the Contractor
and the Subcontractor, nor shall it walve the Contractor's right to insist on strict adherence by the Subcontractor to the contract claims procedures. If
Contractor denies Subcontractor’s Claim, Subcontractor may pursue the matter under Article 21 Dispute Resolution.

16.2 The Subcentractor shall nol delay or suspend the Subcontract Work because of the pendency of or the denial by the Contractor of any such
clalm or because of the continuance of the condition out of which the clalm arose, but shall proceed diligently in performing the Subcontract Wark while

the clalm ts being resolved by agreement or being fully adjudicated.

16.3 [nthe event the Subcontractor asserts that it should receive additional compensation because of an act or omission on the Owner's part, or
someone for whom the Owner |s responsible, the Subcontractor shall promptly submit the claim to the Contractor In writing at least three (3) working
days before the date the Contractor is required to submit such claims under the Prime Contract. If timely submitted with all documentation required by
the Prime Contract, the Contractor will, on behalf of the Subcontractor, submit the same to the Owner for its consideration. Failure of the Subcontractor
to submit such claims [n a timely and proper manner shall result in a waiver of such claim and the Contractor Is not required to submit It to the Owner,
and the Subcontractor shall be bound to the same consequence which the Contractor would suffer under the Prime Contract.

16.4 The Subcontractor shall fully cooperate with the Contractor in the submission of such pass through clalms, shall prepare all supporting data
and de everything else necessary to properly present the claims, including payment of legal fees incurred by the Contractor to prepare, submit and
negotiate or olherwise resolve such claim, Should the Owner allow and pay additonal compensation to the Contractor on account of such pass through
claim asserted by the Subcontractor, the Contractor will pay the same to the Subcontractor, less the Contractor's overhead, costs, expenses, legal fees

and a 15% Administrative Fee.

16.5 It shall be an express condition precedent to any obligation on the part of the Contractor to make payment of any cost, reimbursement,
compensation or damages to the Subcontractor hereunder that the Contractor shall first be determined to be entitled to such compensation on behalf of
the Subcontractor and then receive such payment from Cwner, and Subcontractor expressly acknowledges that the Contractor is not obligated or
required to pursue the Subcentractor's clalm against the Owner if the Contractor, in ils sole discretion, after review of the Subcontractor's claim, has
deemed the claim to lack merit in whole or in part.

16.6 if at any time a controversy should arise between the Contractor and the Subcontractor with respect to any matter in this Subcontract which the
Contractor determines is not a claim, dispute or controversy which shoutd involve or be asserted against the Owner, the decision of the Contractor
relating to the subject of the controversy shall be followed by the Subcontractor.

17. Taxes

The Subcontract Amount includes all applicable sales, excise, transportation, unemployment compensation, sccial security, and any other taxes
presently existing or subsequently Imposed and levied and the Subcontractor agrees to pay all of the above and to conform to all applicable municipal,
state and federal laws in connection with such taxes. The Subcontractor further agrees to withhold taxes from the wages and salaries of ail employees of
the Subcontractor and pay the same In accordance with the federal and state laws and regulations pertaining thereto. The Subcontract Amount includes
federal, state and municipal taxes now levied or In force or hereafter imposed on any and all tangible personal property sold or transferred to the
Contractor under this Subcontract and the Subcontractor agrees to pay such tax or taxes on such property, the cost of which js included in the

Subcontract Amount.

18. Liens

18,1 The Subcentractor shall promptly pay when due all its project creditors, together with the project creditors of all those below it in the contractual
chain.

18.2 If the Project involves private work, the Subcontractor shall keep the property and improvements free and clear of all mechanic, materlalmen and
similar flen claims or statements. In the event any such lien is filed, asserted or claimed, the Subcontractor shall Immediately secure Its release elther by
paying the tien claimant, by filing a tien release bond, or by any other means permitted by law. If not so released, the Contractor may retain an amount
equal to 150% of the lien cr claim and may pay the claimant and offset that amount, plus any legal fees from the amount so retained. If the Project
involves pubile work, the Subcontractor shall promptly pay and secure releases from all of its project creditors, Including all those below it in the
contractual chain, who are entitled to assert claims agains! the Contractor or its surety.

18.3 If any claim or ten is made or filed with or against the Contractor, the Owner, the Project, the Premises or the Project funds by any person
claiming that the Subcontractor or any subcontractor or other person under subcontract to the Subcontractor, or any person or entity employed or
engaged by the Subcontractor at any tler, has failed to make payment for any labor, services, materials, equipment, taxes or other obligations furnished
or incurred in connection with the Subcontract Work, or if the Subcontractor or any subcontractor or other person under subcontract to the Subcontractor,
or any person or entity employed or engaged by the Subcontractor at any tler causes damage to the Subcontract Work or any other work on the project

SUBCONTRACT NO. 17025-026

Rev. April 2016 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 10 of 17

Page 9 of 11

or if the Subcontractor fails to perform or ig otherwise In default of any term or provision of this Subcontract, the Contractor shall have the right to retain
trom any payment then due or thereafter due an amount which the Contractor deems sufficient to (1) satisfy, discharge and/or defend against any such
claim or lien, (2) make good any such nonpayment, failure, damage or default, and (3) defand, indemnify and hold harmless the Contractor and the
Owner against any and all losses, damages and costs, including legal fees and expenses, Incurred by either or both of them. The Contractor shall require
proof that any such nonpayinent, claim or lien is fully satisfied, dismissed and discharged before any remaining retained funds will be released. The
Contractor shall, in addition, have the right to apply and charge against the Subcontractor so much of the amount retained as may be required for the
foregoing purposes and the Subcontractor shall pay and reimburse the Contractor and the Owner all such losses, damages, and costs Incurred by them

which exceed the relatned funds.

19. Assignment

To the fullest extent permitted by law, the Subcontractor agrees that it shall not assign, sell, transfer, delegate or encumber any rights, duties or
obligations arising under this Subcontract Including, but not limited to, any right to receive payments hereunder, without the prior written consent of the
Contractor tn its sole discretion and the giving of any such consent to a particular assignment shall not dispense with the necessity of such consent to
any further or other assignments. In the event the Subcontractor assigns, sells, encumbers or otherwise transfers Its right to any funds due or to become
due under this Subcontract as security for any loan, financing or other Indebtedness (“Assignment’), notification to the Contractor of such Assignment
must be sent by certified mail, return recetpt requested, to the Contractor and the Assignment shail not be effective as against the Contractor until the
Contractor provides its written consent to such Assignment. The Subcontractor agrees that any such Assignment shall not relieve the Subcontractor of
any of ils agreements, duties, responsibilities or obligations under this Subcontract and the Subcontract Documents and shall not create a contractual
relationship or a third party beneficiary relationship of any kind between the Centractor and such assignee or transferee.

20. Guarantee/Warranty

For a period equal to that imposed upon the Contractor under the Prime Contract, bul In no event less than one year from the date of the Owner's final
acceptance of the Subcontract Work, the Subcontractor guarantees and warrants that the Subcontract Work compiles with the Subcontract Documents
requirements and Is free from defects In material and workmanship, The Subcontractor shall remain fiable for defects In the Subcontract Work for the
same period the Contractor remains lieble to the Owner under the Prime Contract, or as required by law, whichever is greater. This guarentee/dwarranty
shall Include, bul Is not limited to, the cost of all labor, material and related items necessary to correct any such defect, plus the cost of repairing any
damage to other items which may have been caused by the defective material or workmanship. If the Subcontractor falls to begin warranty work within
forty-eight (48) hours of being notified that such work Is necessary, the Contractor may, at Ils option, perform the necessary remedial work or secure its
performance by others and charge the Subcontractor with the cost thereof, plus a 15% Administrative Fee. Nothing In this paragraph shall shorten the
statute of limitations on any action by the Contractor for breach of cantraci, negligence or other cause of action against the Subcontractor.

21. Dispute Resolution

21.1 Scope of Disputes Provisions. All Claims, disputes or other matters In question between the parties to this Subcontract which arise out of or
relate to this Agreement (or the breach thereof), whether in contract or tort, (herelnafter “Dispute’) shail be subject to the dispute resclutions set forth

below.

21.2 Initial Dispute Resolution/Mediation. A Dispute which either party desires to pursue shail be set forth [n a detalied written statement of claim
submitted to the other party providing the specific basis upon which monetary or other rellef Is clalmed to be due, the specific contractual provision(s)
supporting the claim and an itemization of the amount claimed to be due. Following submission of the detalled statement of claim, Contractor and
Subcontractor shall endeavor to settle the Dispute first through face to face direct discussions between corporate officers of the Contractor and
Subcontractor which discussions shall be held at ihe Contractor's office tocation Involved with the Project within thirty (30) calendar days of a request by
either party. If the Dispute cannet be resolved through direct discussions, the parties shail participate In mediation under the Construction Industry
Mediation Rules of the American Arbitration Association as a condition precedent and before recourse to any other form of binding dispute resolution.
The location of the mediation shail be the same city as the location of the Project, unless the parties agree on ancther location. Upon writen notice
requesting mediation provided to the other parly and the American Arbitration Association, the parties agree to proceed with the mediation as scheduled
by the mediator. Either party may terminate the mediation at any tme after the first session, but the decision fo terminate must be personally delivered

to the other party and the mediator.

21.3 Binding Dispute Resolution, In the event Contractor and Subcontractor cannot resolve the Dispute through direct discussions or mediation
as contemplated above, then the Dispute shall, at the sole discretion of Contractor, be decided either by submission to (a) arbitration administered by the
American Arbitration Association or other arbitration tribunal mutually agreed upon by the parties; or (b) litigation subject to the exclusive jurisdiction and

venue of the location of the Project.

21.4 Arbitration Election

21.4.1 Inthe event Contractor exercises its exclusive right to resolve the Dispute in arbitration, such arbitration shall be conducted in
accordance with the Construction industry Arbitration Rules of the American Arbitratton Association or the applicable rules of such other
arbitration tribunal as the partles may mutually determine In effect at the time the arbitration is commenced as modifted by the terms hereof,

Any arbitration hereunder shall be held at the focation of the Project.

21.4.2 Should Contractor exercise ils exclusive right to resolve the Dispute by arbitration, then within fourteen (14) days afer Contractor
gives Subcontractor notice of Contractor's election of arbitration, the partles shal! use good faith efforts to select a single arbitrator mutually
acceptable to both parties. If the parties are unable to select an arbitrator, then the parties will select the arbltrator(s) from a@ panel of
experienced construction arbitrators on the American Arbitration Aascciation’s targe complex case panel or a comparable panel of experienced
construction arbitrators maintained by such other arbitration tribuna! mutually selected by the parties then in effect. In the event the amount In
Dispute exceeds $1,000,000.00, Contractor and Subcontractor agree the arbitration shafl be heard by a panel of three (3) arbitrators;

otherwise, the Dispute shall be heard by a single arbitrator.

SUBCONTRACT NO. 17025-026

Rey. April 2016 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 11 of 17

Page 10 of 11

21.4.3 The parties will enter into an Electronically Stored Information Agreement outtining the scope and volume for ESI discovery, which
shail take into account the amount and complexity of the Dispute.

21.4.4 The arbitration award shall be final and binding upon the parties, shall include attorneys’ fees and costs to the prevailing party or
parties, and may be entered as a judgment in any court having proper Jurisdiction. In any arbitration the Arbitrator(s) shall have no power to
render an award which has the effect of altering or amending or changing in any way any provisions of this Subcontract.

21.4.5 The partles stipulate and agree that the performance of this Subcontract fs a transaction Involving interstate commerce.
Notwithstanding other provisions in the Subcontract, or choice of law provisions to the contrary, this agreement to arbitrate shall be enforced
pursuant to, and governed by, the Federal Arbitration Act, 9 U. S. C. §1 et seq., which shall not be superseded or supplemented by any other

arbitration act, statute or regulation.

21.4.6 At the sole discretion of Contractor, any arbitration with Subcontractor shall be consolidated with any other arbitration proceeding
relating to the work under the General Contract.

21.6 Litigation Election. In the event Contractor efacis not to exercise its exclusive right to resolve the Dispute by arbitration, or in the event the Dispute
between Contractor and Subcontractor, or any portion thereof, is found to be non-arbitrable, then the parties hereby agree that the Dispute or a portion
thereof (as the case may be) shall be subject to exclusive jurisdiction and venue at the location of the Project. !n any such Dispute or portion thereof
which Is resolved by lltigation, Subcontractor expressly waives any right to trial by jury.

21.6 Multiparty Proceeding. To the extent permitted by Subcontract Documents, all parties necessary to resolve a claim shall be parties to the
same dispute resolution proceeding. To the extent Disputes between the Contractor and the Subcontractor Involve in whole or in part disputes between
the Contractor and the Owner, Disputes between the Subcontractor and the Contractor shall be decided by the same tribunal and in the same forum as

disputes between the Contractor and the Owner:

21.7 Stay of Proceedings. (a) In the event the provisions for resolution of disputes between the Contractor and the Owner contained In the
Subcontract Documents do not permit consolidation or joinder with disputes of third parties, such as the Subcontractor, resolution of any Dispute
between Contractor and Subcontractor involving In whole or In part disputes between Contractor and Owner shail be stayed pending conciusion of any
dispute resolution proceeding between Contractor and Owner. (b) In the event that any action is filed prior to exhaustion of remedies under the
Subcontract; such action shall be stayed pending conclusion of any dispute resolution proceedings.

21.8 Work Continuation and Payment. Uniess otherwise agreed In writing, Subcontractor shall continue the Subcontract Work and maintain the
Schedule of Work during any dispute resolution proceedings. As Subconiractor continues to perform, Contractor shall continue to make payments In

accordance with this Agreement.

21.9 Cost of Dispute Resolution; Attorneys’ Feas. The cost of any mediation proceeding shall be shared equally by the parties participating.

21.9.1. The prevailing party in any Dispute arising out of or relating to thls Agreement or its breach that is resolved by a dispute resolution
procedure designated in the Subcontract Documents shafl be entitled to recover from the other party those reasonable attorneys’ fees, costs
and expenses (Including expert fees and expenses) Incurred by the prevailing party !n connection with such dispute resolution process after

direct discussions and mediation.

21.9.2 Inthe event the Subcontractor is awarded an amount equal to or less than the last written offer of settlement from Contractor, prior to
the commencement of binding dispute resolutian, Contractor shall be deemed prevailing party and be entitled to recover those reasonable
attomeys' fees, costs and expenses (including expert fees and expenses) Incurred by the Contractor.

22, Miscellaneous

22.1 No one, other than the parties hereto, their successors, trustees and assigns, shall be entitled to bring action on this Subcontract or the
Performance Bond provided by the Subcontractor, it being the express intent of the parties that this Subcontract shall not be for the benefit of any third

party.

22.2 Any term or provision of this Subcontract which Is held to be invalid or unenforceable in any jurisdiction shall, as to such jurisdiction, be
Ineffective to the extent of such Invatidity or unenforceability without rendering Invalid or unenforceable the remaining terms and provisions of this
Subcontract or affecting the validity or enforceabllity of any of the terms or provisions of this Subcontract In any other jurisdiction.

22.3 This Subcontract, together with the documents referred to or incorporated herein by reference, constitute the complete agreement between the
parties. No agent or employee of elther parly possesses the authority to make, and the parties shall not be bound by nor liable for, any statement,
representation, promise or agreement not set forth herein. Any article, section, paragraph or other headings contained in this Subcontract are for
reference purposes and shall not affect in any way the meaning or interpretation of this Subcontract.

22.4 The terms and provisions shall extend to and be binding upon the successors, trustees and assigns of the parties hereto, and shall be governed and
controlled, except as expressly provided herein or as required by the Subcontract Documents, by the lawa of the State of the Project.

22.6 The Subcontractor agrees to comply with the provisions and any applicable lccal, state or federal ordinance, regulation, status, or other mandate
regarding affirmative action and/or minorityAvomen's business enterprise participation.

22.6 This subcontract has not been altered In any manner from its original form as sent to the Subcontractor except for required signatures and dates, or
as clearly marked and inifialed by this Subcontractor. Any changes to this subcontract not initialed by the Contractor will not be binding.

SUBCONTRACT NO. 17025-026

Rev, April 2016 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 12 of 17

Page 11 of 11

23. Schedule of Exhibits to the Agreement

The following Exhibits are attached to and are a part of this Agreement.

Exhibit A: Scope of Work

Exhibit B: insurance Requirements

Exhibit C: Policles/Procedures Acknowledgement
Exhibit D: List of Drawings, Specifications and Addenda

The Subcontract Documents are identified in Article 5.2

Exhibit E: Schedule of Work

Exhibit F: Certification of Non-Segregated Facilities - c+ F*InO
Exhibit G: Not Used

Exhibit H: Tax Exemption Certificate

Exhibit i: Not Used

Exhibit K: Not Used
Exhibit X: Not Used

This Agreement is entered into as of the date entered in Article 1.

  
 

CONTRERAS CONSTRUCTION CORP.

ATTEST,

 

BY: ~
7 — — 7 a
 Gistnamé Socorro G. Contferas

Print Title: _ Treasurer

 

Designate type f organization: (XCorporation () Partnership () Sole Proprietorship () LLC () Other

Organized in the State of New Mexico License Number: 354456
with its principal place of business at 427 Gen Somervell St NE Albuquerque, NM

FLINTCO, LLC

ATTEST: BY:

 

Print Name:

 

 

Print Title: Authorized Representative

SUBCONTRACT NO. 17025-026

Rev. April 2016 CONTRERAS CONSTRUCTION CORP.
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 13 of 17

Subcontract Payment Request

To: Flintco LLC From: Contreras Construction
6020 Indian School Road, N.E. Corp
Albuquerque, NM 87110-4124 Albuquerque NM 87181
Project: 17025 Jicarilla:Comm Cntr Fax: (505)332-9480

Email: contrerasconstruction@gmail.com

 

Vendor Number: 10889 Date Worked Through: 06/30/2018
Contract: 26 Invoice Number:
Amount of Contract % Completion to Date Total Completion to Date
002 SUB-SITE CONCRETE 450,000.00
Total Contract: 450,000.00

 

Stored Materials: (Itemize):

 

 

 

Total Stored Materials:

 

Payment Request Number:
Total Completed & Stored:

 

 

 

 

 

Less Previous Completed & Stored: < 00>
Total:
Less Owner paid Invoices: < >
Less Retainage: < >

Total Due this Invoice:

 

The undersigned upon receipt of the payment requested hereunder and in consideration of such payment, does hereby waive and release any and all
claims or construction liens or any type arising under applicable state or federal law or any payment or performance bond on account of labor or
matertals or both furnished up to the date of the invoice; provide, however, this waiver and release does not apply to the extent that payment is
being retained or is not yet due and payable under the contract. The undersigned also certified that all bills for materials or labor or other
encumbrances related to payments previously pafd to us on the contract have been fully paid.

 

Vendor/Subcontractor; Contreras Construction Signature:

For Flintco LLC Use Only:
Check by: Approved by: Date:

Remarks:

 

 
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 14 of 17

rFLINTCO

 

 

Subcontract Change Order |

eae

 

Jicarilla Apache Nation - Community Center

37 Hawks Drive
Dulce, NM 87528

Date: 12/12/2019

To Subcontractor/Vendor:
Vendor: 10889
Contreras Construction Corporation

127 General Somervell Street Northeast
Albuquerque, NM 87123

The Contract is hereby revised by the following items:

Concrete Wark for 33 Light Poles
PCO Item # Description

078 001
Code -002.033000.S

Concrete work for 33 Light Poles

Flintco, LLC
Project # 17025
Operating Company/Division: 40-0

Contract Number: 17025-026

Change Order Number: 004
Contract Date: 4/13/2018

Amount
$26,400.00

The work to be performed and/or the materials to be provided by this change order shall be performed under the same terms
and conditions which are included in the original subcontract or purchase order. This change order will nol be valid, and no
payment will be made for the change order work until this change order has been fully executed by both an officer of the
Subcontractor/Seller's company and an authorized representative of the Contractor/Buyer

 

 

The criginal Contract Value WaS........ccsssesserssnsesssersesnsestesessercensentesessssenscssscnenss sisensssnesssseosssorsaanrenessseensnnsesenens $450,000.00
Sum of changes by prior Subcontract Change Orders . $51,860.00
The Contract Value prior to this Subcontract Change Order Wa8.......-s.cssssssssesssssecstensnsccctsnsessosuseses seoseeseacens $501,860.00
The Contract Value will be changed by this Subcontract Change Order in the amount Of,..........cerccsermererseres $26,400.00
The new Contract Vatue Including this Subcontract Change Order will b@..........sssssersassee ove $528,260.00

Flintco, LLC

CONTRACTOR
8901 Adams St, NE

Sulte B
Albuquerque, NM 87109

Address
By Noah Perry a

4 f

SIGNATURE “if oo

DATE f- 3-26

 

Contreras Construction Corporation

SUBCONTRACTOR/VENDOR
127 General Somervell Street Northeast
Albuquerque, NM 87123

 

Address
By heaton CG. Exae= La

SIGNATURE SHLD ZZ

DATE /A-20 -/F

 

Prolog Manager Printed on: 12/12/2019

Page 1 of 1
Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 15 of 17

 

 

FTrLINTCO Subcontract Change Order

 

 

Jicariltla Apache Nation - Community Center Flintco, LLC
37 Hawks Drive Project # 17025
Duice, NM 87528 Operating Company/Division: 40-0
Date: 5/6/2019
To Subcontractor/Vendor:

Vendor: 10889 Contract Number: 17025-026

Contreras Construction Corporation Change Order Number: 002

127 General Somervell Street Northeast Contract Date: 43/2018

Albuquerque, NM 87123

The Contract Is hereby revised by the following items:
5 Mechanical Pads Concrete Work

PCO item # Description Amount
031 001 5 Mechanical Pads Concrete Work $14,040.00
Code -002.033000.S

 

The work to be performed and/or the materiats to be provided by this change order shall be performed under the same terms
and conditions which are included in the original subcontract or purchase order. This change order will not be valid, and no
payment will be made for the change order work until this change order has been fully executed by both an officer of the
Subcontractor/Seller's company and an authorized representative of the Contractor/Buyer

 

 

 

 

The original Contract Value WaS.........ccsecscccstcsnsssetsrseresssessnrtntsantecsssenesssesontunessenacorssusrasscasauezsausssauanassesseseseons $450,000.00
Sum of changes by prior Subcontract Change Ordefrs...........scs0 $16,800.00
The Contract Value prior to this Subcontract Change Order Wa8.,........ccccseesscecsvsesesssneseustsuesesssasenarssasonsanecseas $466,800.00
The Contract Value will be changed by this Subcontract Change Order In the amount of... $14,040.00
The new Contract Value Including this Subcontract Change Order will B@..............-.cccssesersessrers soeesessseranseenreene $480,840.00
Flintco, LLC Contreras Construction Corporation

CONTRACTOR SUBCONTRACTOR/VENDOR

6020 Indian Schoo! Road NE 127 General Somervell Street Northeast

Albuquerque, NM_ 87110 Albuquerque, NM_ 87123

 

 

Address
By Bryan Rowland

SIGNATURE

 

DATE

 

 

 

Prolog Manager Printed on: 5/6/2019 Page 1 of 1

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Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 16 of 17
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FLINTCO Subcontract Change Order

 

 

Jicarilla Apache Nation - Community Center Flintco, LLC
37 Hawks Drive Project # 17025
Duice, NM 87528 Operating Company/Division: 40-0

 

Date: 7/18/2018

To Subcontractor{Vender:

Vendor: 10889 Contract Number: 17025-026
Contreras Construction Corp. Change Order Number: 001
127 General Somervell Street NE Contract Date: 4113/2018

Albuquerque, NM 87123

The Contract is hereby revised by the following items:
Contreras - Gen Pad and Trans Pad

PCO item # Dascription Amount

gos 601 Transformer pad and Generator Pad. Form, reinforce, pour concrete per $16,800.00
spec, earth prep included.
No Budget Code Referenced - eCMS Worksheet Required

 

The work to be parformed and/or the materials to ba provided by this change order shall be performed under the same terms
and conditions which are included in the original subcontract or purchase order. This change order will not be valid, and no
payment will be made for the change order work until this change order hes been fully executed by both an officer of the
Subcontractor/Seller’s company and en authorized representative of the Contracter/Buyer

 

 

 

 

 

 

 

The original Contract Vatue was. $450,000.00
Sum of changes by prior Subcontract Change Orders. $0.00
The Contract Value prior to this Subcontract Change Order was . $450,000.00
The Contract Value will be changed by this Subcontract Change Order In the amount Of.............essscsseresssseeeersesenssousessens $16,800.00
The new Contract Value including this Subcontract Change Order will be. $466,800.00
Flintco, LLC ™~ "48 Construction Corp.
CONTRACTOR NTRACTOR/VENDOR
6020 Indian Schoo! Rea . - val Somervell Street NE
Albuquerque, NM_ 8711 “ . que, NM_ 87123 a
Address c ott’ pret
BY Bryan Rowland Cp f4@ Z7

za ———" pe

[/ if. ~

SIGNATURE JRE Y _»>

   

DATE

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Case 1:21-cv-00200-KRS-SMV Document 1-1 Filed 03/08/21 Page 17 of 17

 

Subcontract Change Order

 

TLINTCO

 

Flintco, LLC
Project # 17025
Operating Company/Division: 40-0

Jicariila Apache Nation - Community Center

37 Hawks Drive
Dulce, NM 87528

Date: 6/27/2019

To Subcontractor/Vendor:
Vendor: 10889

Contreras Construction Corporation

127 General Somervell Street Northeast
Albuquerque, NM 87123

Contract Number: 17025-026

Change Order Number: 003
Contract Date: 4/13/2018

The Contract Is hereby revised by the following Items:

Stairs and Retaining Wall
PCO Item # Description Amount
044 001 Stairs and Retaining Wail $21,020.00
Code -002.033000,S

 

The work to be performed and/or the materials to be provided by this change order shall be performed under the same terms
and condittons which are Included In the original subcontract or purchase order. This change order will not be valid, and no
payment will be made for the change order work until this change order has been fully executed by both an officer of the

Subcontractor/Seller's company and an authorized representative of the Contractor/Buyer

The original Contract Value WAS........sscccssscsccssceressessenseasesssssessessensesuessssuseesassseseasacnccesesavssenteasessensenssadvenseacars $450,000.00
Sum of changes by prior Subcontract Change Orders...........sccsscsssscesssssseesssssersessoseressesesesatossssoasecorsracerseasanens $30,840.00
The Contract Value prior to this Subcontract Change Order Wa8...........-.sssssssssssssseenecsesessesessesreessnseracaesssseanes $480,840.00
The Contract Value will be changed by this Subcontract Change Order in the amount Of............cccsssessssseseees $21,020.00
The new Contract Value including this Subcontract Change Order will be...........escssescccsesssesessessesessessesenseasees $501,860.00

 

 

 

 

Contreras Construction Corporation

 

 

 

 

 

Flintco, LLC
CONTRACTOR SUBCONTRACTOR/VENDOR
127 General Somervell Street Northeast
Albuquerque, NM_ 87123
Address Address
By By
SIGNATURE SIGNATU aa
( —S
DATE DATE aw / eG
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Prolog Manager Printed on: 6/27/2019

Page 1 of 1
